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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


 NIMITZ TECHNOLOGIES LLC,

                        Plaintiff,                          Case No. 1:22-cv-00413-CFC

                            v.

 BLOOMBERG L.P.,

                       Defendant.




                   RULE 7.1 CORPORATE DISCLOSURE STATEMENT

       Plaintiff Nimitz Technologies LLC, by and through the undersigned counsel, states that it

is a private entity and that no public entity holds any percentage of interest in the Plaintiff.

       The sole owner and member of Nimitz Technologies LLC is Mark Hall, an individual.

       To avoid any misunderstanding, Plaintiff understands that the Court’s Standing Order

Regarding Disclosure Statements Required By Federal Rule of Civil Procedure 7.1 requires parties

to identify direct or indirect ownership interest, and does not require disclosure of entities who

may have a financial interest in the outcome of the litigation (such as for example counsel

contingency arrangements).


Dated: May 25, 2022                    Respectfully submitted by:
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                                     /s/ George Pazuniak
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